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                                        EXHIBIT A

Please provide all documents and electronically stored information related to:

1. The corporate structure of Delaware BSA, LLC and any involvement of the Boy Scouts
   of America with that company’s business from 2018 to the present;

2. The contractual relationships between Delaware BSA, LLC and the Boy Scouts of
   America from 2018 to the present;

3. The financial relationships between Delaware BSA, LLC and the Boy Scouts of America
   from 2018 to the present;

4. The description and amount of financial resources provided by the Boy Scouts of
   America to Delaware BSA, LLC from 2018 to the present;

5. The description and amount of human resources provided by the Boy Scouts of America
   to Delaware BSA, LLC from 2018 to the present;

6. The identity of all of Delaware BSA, LLC’s employees from 2018 to the present;

7. The number of all of Delaware BSA, LLC’s employees from 2018 to the present;

8. The location and description of all of Delaware BSA, LLC’s assets from 2018 to the
   present;

9. The location and description of all of Delaware BSA, LLC’s liabilities from 2018 to the
   present;

10. All contractual obligations of Delaware BSA, LLC from 2018 to the present;

11. All insurance policies covering Delaware BSA, LLC from 2018 to the present;

12. All physical locations of Delaware BSA, LLC’s business from 2018 to the present;

13. The location of Delaware BSA, LLC’s headquarters from 2018 to the present;

14. The organizational structure of Delaware BSA, LLC from 2018 to the present;

15. The services provided by Delaware BSA, LLC from 2018 to the present;

16. The goods provided by Delaware BSA, LLC from 2018 to the present;

17. The creation of Delaware BSA, LLC by the Boy Scouts of America.
